          Case 3:19-cv-03132-WHO           Document 541        Filed 01/09/25   Page 1 of 36



 1    KIRKLAND & ELLIS LLP
      Dale M. Cendali (SBN 1969070)
 2    dale.cendali@kirkland.com
      Mary Mazzello (pro hac vice)
 3    mary.mazzello@kirkland.com
      Jonathan D. Brit (pro hac vice)
 4    jonathan.brit@kirkland.com
      Abbey Quigley (pro hac vice)
 5    abbey.quigley@kirkland.com
      Emily Sheffield (pro hac vice)
 6    emily.sheffield@kirkland.com
      Miriam Kontoh (pro hac vice)
 7    miriam.kontoh@kirkland.com
      601 Lexington Avenue
 8    New York, NY 10022
      T: (212) 446-4800
 9    F: (212) 446-4900

10    Yan-Xin Li (SBN 332329)
      yanxin.li@kirkland.com
11    555 California Street, 27th Floor
      San Francisco, CA 94104
12    T: (415) 439-1400
      F: (415) 439-1500
13
      Attorneys for Defendants
14    Meta Platforms, Inc. and Meta             Platforms
      Technologies, LLC
15

16                                  UNITED STATES DISTRICT COURT

17                                NORTHERN DISTRICT OF CALIFORNIA

18                                        SAN FRANCISCO DIVISION

19                                                          Case No. 3:19-cv-03132-WHO (SK)
                                                            Case No. 3:20-cv-08261-WHO (SK)
20   UAB “PLANNER5D” d/b/a PLANNER 5D,
21                                Plaintiff,                META’S NOTICE OF MOTION AND
                                                            MOTION FOR SUMMARY JUDGMENT AND
22          v.                                              MEMORANDUM OF POINTS AND
                                                            AUTHORITIES IN SUPPORT THEREOF
23
     META PLATFORMS, INC., META
24   PLATFORMS TECHNOLOGIES, LLC, THE                       Hearing Date: March 28, 2025
     TRUSTEES OF PRINCETON UNIVERSITY,                      Time: 10:00 AM
25                                                          Courtroom: 2, 17th Floor
     DOES 1-200, ABC CORPORATIONS 1-20, and
26   XYZ UNIVERSITIES 1-20,                                 Judge Honorable William H. Orrick
27                                Defendants.

28

     META’S MOTION FOR SUMMARY JUDGMENT                                            CASE NO. 3:19-CV-03132
          Case 3:19-cv-03132-WHO            Document 541        Filed 01/09/25      Page 2 of 36



 1          NOTICE OF MOTION AND MOTION FOR SUMMARY JUDGMENT

 2   TO ALL PARTIES AND THEIR COUNSEL OF RECORD

 3          PLEASE TAKE NOTICE that on March 28, 2025, at 10:00 a.m. in Courtroom 2 of this Court, the

 4   Honorable William H. Orrick presiding, located at 450 Golden Gate Avenue, San Francisco, California.

 5   Defendants Meta Platforms, Inc. and Meta Platforms Technologies, LLC (collectively, “Meta”), will move

 6   for an Order granting summary judgment in Meta’s favor and against Plaintiff Planner 5D (“P5D”).

 7          This Motion is based upon this Notice of Motion and Motion, the below Memorandum of Points

 8   and Authorities, the concurrently filed Declarations and its associated exhibits, the pleadings and papers

 9   on file in this action, and any further evidence as may be presented at the hearing of this Motion.

10          STATEMENT OF ISSUES FOR RELIEF

11          Pursuant to Local Rule 7-2(b)(3), Meta hereby seeks an Order granting its motion for summary
12   judgment in Meta’s favor on the following issues:
13   Trade Secret Misappropriation
14      ISSUE 1: That P5D cannot establish trade secret misappropriation against Meta as a matter of law
        because (a) Meta merely downloaded the public dataset SUNCG after Princeton publicly released it
15      and extinguished any alleged trade secret rights P5D purported to have in the information in SUNCG,
        (b) Meta was not in privity with Princeton, and/or (c) Meta did not know and had no reason to know
16
        that SUNCG contained any trade secrets.
17

18   Direct Copyright Infringement:
19      ISSUE 2: That P5D cannot establish copyright infringement of its asserted scene compilation as a
        matter of law because P5D has not satisfied its burden to prove that the selection of scenes Meta used
20      is substantially similar to the selection of scenes in P5D’s asserted scene compilation.
21
        ISSUE 3: That P5D cannot establish copyright infringement of its asserted objects as a matter of law
22      because (a) its objects are copied wholesale from existing sources and Planner 5D admitted that the
        allegedly creative choices it identified in the objects are merely speculative, and/or (b) P5D cannot
23      establish substantial similarity.

24      ISSUE 4: That P5D cannot establish copyright infringement of the 18 individual scenes it purports to
        own as a matter of law because it cannot establish substantial similarity.
25
     Indirect Copyright Infringement
26
       ISSUE 5: That P5D cannot establish contributory liability against Meta as a matter of law because (a)
27
       there is no direct infringement, and/or (b) P5D has offered no evidence that any third parties used
28     SUNCG because of Meta’s conduct.
                                                        1
     META’S MOTION FOR SUMMARY JUDGMENT                                              CASE NO. 3:19-CV-03132
          Case 3:19-cv-03132-WHO          Document 541        Filed 01/09/25       Page 3 of 36



 1      ISSUE 6: That P5D cannot establish vicarious liability against Meta as a matter of law because (a)
        there is no direct infringement, and/or (b) Meta received no financial benefit from its research
 2      activities at issue in this case.
 3   Affirmative Defenses
 4
        ISSUE 7: That summary judgment should be granted to Meta on Meta’s affirmative defense of fair
 5      use with respect to all of P5D’s copyright claims.

 6
     Dated: January 9, 2025                              Respectfully submitted,
 7
                                                         KIRKLAND & ELLIS LLP
 8

 9                                                       /s/ Dale M. Cendali
                                                         KIRKLAND & ELLIS LLP
10                                                       Dale M. Cendali (SBN 1969070)
                                                         dale.cendali@kirkland.com
11                                                       Mary Mazzello (pro hac vice)
                                                         mary.mazzello@kirkland.com
12                                                       Jonathan D. Brit (pro hac vice)
                                                         jonathan.brit@kirkland.com
13                                                       Abbey Quigley (pro hac vice)
                                                         abbey.quigley@kirkland.com
14                                                       Miriam Kontoh (pro hac vice)
                                                         miriam.kontoh@kirkland.com
15                                                       Emily Sheffield (pro hac vice)
                                                         emily.sheffield@kirkland.com
16                                                       601 Lexington Avenue
                                                         New York, NY 10022
17                                                       T: (212) 446-4800
                                                         F: (212) 446-4900
18
                                                         Yan-Xin Li (SBN 332329)
19                                                       yanxin.li@kirkland.com
                                                         555 California Street, 27th Floor
20                                                       San Francisco, CA 94104
                                                         T: (415) 439-1400
21                                                       F: (415) 439-1500

22                                                       Attorneys for Defendants
                                                         Meta Platforms, Inc. and Meta Platforms
23                                                       Technologies, LLC

24

25

26

27

28
                                                        2
     META’S MOTION FOR SUMMARY JUDGMENT                                              CASE NO. 3:19-CV-03132
            Case 3:19-cv-03132-WHO                          Document 541                  Filed 01/09/25                Page 4 of 36



 1                                                           TABLE OF CONTENTS

 2   I.      Factual Background ..........................................................................................................................2
             A.     Meta’s Longstanding Practice of Conducting Noncommercial Scientific Research ............2
 3
             B.     P5D Is An Interior Design Platform Where Users Can Create Home Designs ....................3
 4
             C.         Princeton Downloaded and Transformed the Publicly Available Scenes Created by
 5                      P5D’s Users into the Machine Learning Dataset SUNCG ...................................................5
             D.   Meta, Like Many Entities, Used SUNCG for Limited Noncommercial Research ...............7
 6
     II.     Summary Judgment Standard ...........................................................................................................8
 7   III.    Summary Judgment on the Trade Secret Claims is Warranted ........................................................9
 8           A.   Meta Is Not Liable For Trade Secret Misappropriation As It Merely Downloaded
                  SUNCG After Princeton Publicly Released the Dataset.......................................................9
 9           B.   Meta Was Not In Privity with Princeton.............................................................................11
10           C.    P5D’s Claim That Meta Is Liable Because It Had Reason to Believe SUNCG
                   Contained Trade Secrets Acquired by Improper Means Also Fails. ..................................12
11   IV.     P5D Cannot Establish Direct Copyright Infringement ...................................................................14
12           A.         P5D Cannot Meet Its Burden of Showing Meta Infringed Its Alleged Compilation..........14
                        1.    P5D Cannot Prove SUNCG’s Compilation Is Substantially Similar to
13                            P5D’s.......................................................................................................................14
14                      2.    P5D Cannot Prove the SUMO Compilation Is Substantially Similar to
                              P5D’s.......................................................................................................................15
15           B.         P5D Cannot Meets Its Burden of Establishing that Meta Infringed Its Objects. ................16
16                      1.    P5D Cannot Prove that It Exercised Creativity in Modeling the Objects...............16
                        2.         P5D Cannot Meet Its Burden of Showing Substantial Similarity Between
17                                 the P5D Objects/Object Files and the SUNCG or SUMO Objects/Object
                                   Files .........................................................................................................................18
18
             C.    P5D Offers No Evidence that Meta Infringed the 18 Scenes It Allegedly Created ............19
19   V.      P5D Cannot Establish Indirect Copyright Infringement .................................................................19
20           A.    Meta Did Not Commit Contributory Copyright Infringement as There Was No
                   Direct Liability and it Did Not Induce Copyright Infringement by Third Parties. .............19
21           B.         Meta Did Not Commit Vicarious Copyright Infringement as There Was No Direct
                        Liability and It Did Control or Financially Benefit From Any Direct Infringer ................20
22
     VI.     Meta’s Use of SUNCG Is Fair Use .................................................................................................20
23           A.     Meta’s Use Is Transformative and Noncommercial ...........................................................21
24           B.     P5D’s Purported Copyrighted Works Are at the Lowest End of Creativity .......................23
             C.    Meta Used Only as Much as Necessary for Its Transformative Purpose ...........................23
25
             D.    Meta’s Conduct Did Not Interfere With P5D’s Market......................................................23
26   VII.    Conclusion ......................................................................................................................................25
27

28
                                                                                 i
     META’S MOTION FOR SUMMARY JUDGMENT                                                                                     CASE NO. 3:19-CV-03132
             Case 3:19-cv-03132-WHO                         Document 541                Filed 01/09/25             Page 5 of 36



 1                                                        TABLE OF AUTHORITIES

 2                                                                                                                                                 Page(s)

 3   Cases

 4   Anderson v. Liberty Lobby, Inc.,
        477 U.S. 242 (1986) ...................................................................................................................9
 5
     Andy Warhol Found. v. Goldsmith,
 6      598 U.S. 508 (2023) .................................................................................................................24

 7   Assessment Techs. of WI, LLC v. WIREdata, Inc.,
        350 F.3d 640 (7th Cir. 2003) ...................................................................................................23
 8
     Authors Guild v. Google, Inc.,
 9      804 F.3d 202 (2d Cir. 2015).....................................................................................................22

10   Bespaq Corp. v. Haoshen Trading Co.,
        No. 04 Civ. 3698, 2004 WL 2043522 (N.D. Cal. Sept. 13, 2004)...........................................17
11
     Campbell v. Acuff-Rose Music, Inc.,
12     510 U.S. 569 (1994) ...........................................................................................................21, 23

13   Cavalier v. Random House, Inc.,
        297 F.3d 815 (9th Cir. 2002) .............................................................................................14, 18
14
     DVD Copy Control Assn., Inc. v. Bunner,
15     31 Cal. 4th 864 (2003), as modified (Oct. 15, 2003) ...............................................................10

16   Ent. Rsch. Grp., Inc. v. Genesis Creative Grp., Inc.,
        122 F.3d 1211 (9th Cir. 1997) ...........................................................................................16, 18
17
     Erickson Prods., Inc. v. Kast,
18       921 F.3d 822 (9th Cir. 2019) ...................................................................................................20

19   Evans v. Presidio Trust,
        No. 19 Civ. 8025, 2019 WL 11270441 (N.D. Cal. Dec. 23, 2019) ...........................................8
20
     Experian v. Nationwide Mktg. Servs. Inc.,
21      893 F.3d 1176 (9th Cir. 2018) .................................................................................................15

22   Feist Publ’ns, Inc. v. Rural Tel. Serv. Co.,
        499 U.S. 340 (1991) ...........................................................................................................15, 16
23
     Field v. Google Inc.,
24       412 F. Supp. 2d 1106 (D. Nev. 2006) ......................................................................................25

25   George S. Chen Corp. v. Cadona Intern., Inc.,
        No. 06 Civ. 55536, 2008 WL 152651 (9th Cir. Jan. 17, 2008) ...............................................17
26
     Google LLC v. Oracle America, Inc.,
27      593 U.S. 1 (2021) ............................................................................................................. passim

28
                                                                               ii
     META’S MOTION FOR SUMMARY JUDGMENT                                                                                CASE NO. 3:19-CV-03132
             Case 3:19-cv-03132-WHO                        Document 541                Filed 01/09/25             Page 6 of 36



 1   GSI Tech., Inc. v. United Memories, Inc.,
        No. 13 Civ. 1081, 2015 WL 5655092 (N.D. Cal. Sep. 21, 2015) ............................................13
 2
     Harper & Row Publishers v. Nation Enters.,
 3      471 U.S. 539 (1985) .................................................................................................................24

 4   Harper House, Inc. v. Thomas Nelson, Inc.,
        889 F.2d 197 (9th Cir. 1989) ...................................................................................................15
 5
     Hearn v. Meyer,
 6      664 F. Supp. 832 (S.D.N.Y. 1987)...........................................................................................18

 7   Hong Kong uCloudlink Network Tech. Ltd. v. Simo Holdings Inc.,
        No. 18 Civ. 5031, 2019 WL 1767329 (N.D. Cal. Apr. 22, 2019) ...............................10, 11, 12
 8
     Hunley v. Instagram, LLC,
 9      73 F.4th 1060 (9th Cir. 2023) ..................................................................................................19

10   Infogroup, Inc. v. DatabaseLLC,
         95 F. Supp. 3d 1170 (D. Neb. 2015) ........................................................................................13
11
     Jonathan Browning, Inc. v. Venetian Casino Resort LLC,
12      816 F. Supp. 2d 793 (N.D. Cal. 2009) .......................................................................................8

13   Kelly v. Arriba Soft Corp.,
        336 F.3d 811 (9th Cir. 2003) .................................................................................21, 22, 23, 25
14
     Kennedy v. Gish, Sherwood & Friends, Inc.,
15      143 F. Supp. 3d 898 (E.D. Miss. 2015) ...................................................................................25

16   Lowry v. City of San Diego,
        858 F.3d 1248 (9th Cir. 2017) ...................................................................................................9
17
     Meshwerks, Inc. v. Toyota Motor Sales U.S.A., Inc.,
18      528 F.3d 1258 (10th Cir. 2008) (Gorsuch, J.) ..........................................................................16

19   Olivier v. Baca,
        913 F.3d 852 (9th Cir. 2019) .....................................................................................................8
20
     Perfect 10, Inc. v. Amazon.com, Inc.,
21      508 F.3d 1146 (9th Cir. 2007) .................................................................................................22

22   Perfect 10, Inc. v. Giganews, Inc.,
        847 F.3d 657 (9th Cir. 2017) ...................................................................................................20
23
     Perfect 10, Inc. v. Visa Int’l Serv. Ass’n,
24      494 F.3d 788 (9th Cir. 2007) ...................................................................................................20

25   Religious Tech. Ctr. v. Lerma,
         908 F. Supp. 1362 (E.D. Va. 1995) .........................................................................9, 10, 11, 14
26
     Religious Tech. Ctr. v. Netcom On-Line Commc’n Servs., Inc.,
27       923 F. Supp. 1231 (N.D. Cal. 1995) ..............................................................................9, 10, 12

28
                                                                              iii
     META’S MOTION FOR SUMMARY JUDGMENT                                                                               CASE NO. 3:19-CV-03132
             Case 3:19-cv-03132-WHO                           Document 541                 Filed 01/09/25              Page 7 of 36



 1   S. Cal. Darts Ass’n v. Zaffina,
         762 F.3d 921 (9th Cir. 2014) .....................................................................................................8
 2
     Sega Enters. Ltd v. Accolade, Inc.,
 3      977 F.2d 1510 (9th Cir. 1992) .................................................................................................22

 4   Seltzer v. Green Day, Inc.,
         725 F.3d 1170 (9th Cir. 2013) ...........................................................................................21, 25
 5
     SocialApps, LLC v. Zynga, Inc.,
 6      No. 11 Civ. 4910, 2012 WL 381216 (N.D. Cal. Feb. 6, 2012) ..................................................9

 7   SOFA Ent., Inc. v. Dodger Prods., Inc.,
       709 F.3d 1273 (9th Cir. 2013) ...........................................................................................21, 25
 8
     Space Data Corp. v. X
 9      No. 16 Civ. 3260, 2017 WL 5013363 (N.D. Cal. Feb. 16, 2017) ..............................................9

10   Thornhill Publ’g Co., Inc. v. GTE Corp.,
        594 F.2d 730 (9th Cir. 1979) .....................................................................................................9
11
     Tresóna Multimedia, LLC v. Burbank High Sch. Vocal Music Ass’n,
12      953 F.3d 638 (9th Cir. 2020) .......................................................................................21, 23, 25

13   A.V. ex rel. Vanderhye v. iParadigms, LLC,
        562 F.3d 630 (4th Cir. 2009) ...................................................................................................22
14
     Veronica Foods Co. v. Ecklin,
15      No. 16 Civ. 7223, 2017 WL 2806706 (N.D. Cal. June 29, 2017) .............................................9

16   Statutes

17   17 U.S.C. § 102 ..............................................................................................................................18

18   17 U.S.C. § 107 ..............................................................................................................................20

19   18 USC §1839(5)(A), (B)(ii) .........................................................................................................12

20   Cal. Code §3426.1(b)(1), (2)(B)(i) ................................................................................................12

21   Rules

22   Fed. R. Civ. P. 56(a) ........................................................................................................................8

23                                                All emphasis added unless otherwise noted.

24

25

26

27

28
                                                                                 iv
     META’S MOTION FOR SUMMARY JUDGMENT                                                                                    CASE NO. 3:19-CV-03132
         Case 3:19-cv-03132-WHO       Document 541       Filed 01/09/25       Page 8 of 36



 1                                      TABLE OF EXHIBITS

 2
        EXHIBIT                                    DESCRIPTION
 3
                        EXHIBITS TO THE DECLARATION OF MARY MAZZELLO
 4
           1      Excerpts from August 4, 2022 Deposition of Viacheslav Kondaurov
 5
           2      Excerpts from August 5, 2022 Deposition of Viacheslav Kondaurov
 6
           3      Excerpts from November 10, 2022 Deposition of Alexey Sheremetyev
 7
           4      Excerpts from June 25, 2024 Deposition of Alexey Sheremetyev
 8
           5      Excerpts from June 26, 2024 30(b)(6) Deposition of Alexey Sheremetyev
 9
           6      Excerpts from November 15, 2024 Deposition of David Forsyth
10
           7      Excerpts from June 11, 2024 Deposition of Daniel Huber
11
           8      Excerpts from June 5, 2024 Deposition of Georgia Gkioxari
12
           9      Excerpts from July 2, 2024 Deposition of Jonas Gavelis
13
           10     Excerpts from February 12, 2024 Deposition of Julian Straubs
14
           11     Excerpts from June 7, 2024 Deposition of Konstantin Ketko
15
           12     Excerpts from September 6, 2024 30(b)(6) Deposition of Richard Newcombe
16
           13     Excerpts from June 14, 2024 Deposition of Shuran Song
17
           14     Excerpts from June 17, 2024 Deposition of Tauvydas Andrikys
18
           15     Excerpts from July 30, 2024 Deposition of Thomas Funkhouser
19
           16     META_0002433
20
           17     META_0004031
21
           18     META_0021995
22
           19     P5D-0065387
23
           20     P5D-0065391
24
           21     P5D-0065411
25

26         22     P5D-0065464

27         23     P5D-0177427 with Enlargement

28         24     P5D-0079765

                                                   v
     META’S MOTION FOR SUMMARY JUDGMENT                                          CASE NO. 3:19-CV-03132
         Case 3:19-cv-03132-WHO       Document 541        Filed 01/09/25    Page 9 of 36



 1
        EXHIBIT                                    DESCRIPTION
 2
           25     P5D-0080390
 3
           26     P5D-0177435
 4
           27     P5D-0177440
 5
           28     P5D-0218287
 6
           29     PRIN00004562
 7
           30     PRIN00032698
 8
           31     SONG00000214
 9
           32     Opening Expert Report of David Forsyth, dated October 3, 2024, without exhibits
10
           33     Objects in P5D Narrowed Objects List But Not in SUNCG
11
           34     P5D Trade Secret Disclosures, dated June 10, 2021
12
           35     Amended Attachment A to P5D Trade Secret Disclosures, dated September 7,
13                2022
14         36     Attachment B to P5D Trade Secret Disclosures, dated June 10, 2021
15         37     P5D’s Objections and Responses to Facebook Parties’ 1st Interrogatories, dated
                  October 7, 2021
16
           38     Princeton’s First Supplemental Responses and Objections to P5D’s First
17                Interrogatories, dated November 11, 2021
18         39     SONG00003754
19         40     Amended Added Objects in P5D’s Amended Objects Trade Secret Disclosure
20         41     Princeton's Fourth Supplemental Interrogatory Responses and Objections to P5D’s
                  First Interrogatories, dated February 25, 2022
21
           42     Meta’s Amended Objections and Responses to P5D’s Third Interrogatories, dated
22                April 22, 2022
23         43     P5D’s Responses and Objections to Princeton’s First Requests for Admission,
                  dated August 30, 2022
24
           44     Amended Exhibit D to P5D’s Responses to Meta's First Interrogatories, September
25                7, 2022
26         45     P5D’s Fifth Supplemental Amended Objections and Responses to Princeton’s First
                  Interrogatories, dated July 31, 2024
27
           46     P5D’s Fifth Supplemental Responses to Princeton’s Second Interrogatories, dated
28                November 18, 2022
                                                   vi
     META’S MOTION FOR SUMMARY JUDGMENT                                        CASE NO. 3:19-CV-03132
        Case 3:19-cv-03132-WHO       Document 541        Filed 01/09/25    Page 10 of 36



 1
        EXHIBIT                                    DESCRIPTION
 2
           47     P5D’s Eighth Supplemental Objections and Responses to Meta’s First
 3                Interrogatories, dated July 31, 2024

 4         48     P5D’s First Supplemental Objections and Responses to Meta’s Third
                  Interrogatories as to ROG 19 & 23, dated May 5, 2024
 5
           49     Meta’s Fifth Supplemental Responses and Objections to P5D’s Second ROGs,
 6                dated June 28, 2024

 7         50     Semantic Scene Compilation from a Single Depth Image (Song Research Paper)

 8         51     AI For Interior Design Webpage

 9         52     Common Fellowship Questions Webpage

10         53     Building Generalizable Agents with a Realistic and Rich 3D Environment
                  (House3D Paper)
11
           54     Sharing new research, models, and datasets from Meta FAIR Article
12
           55     Facebook AI Research Article
13
           56     Meta AI Publications Webpage
14
           57     Meta Models and Libraries Webpage
15
           58     Events - AI at Meta Webpage
16
                        EXHIBITS TO THE DECLARATION OF DANIEL LOPRESTI
17
           A      Opening Expert Report of Daniel Lopresti, dated October 3, 2024 (“Lopresti Op.”)
18
           B      Rebuttal Expert Report of Daniel Lopresti, dated November 5, 2024 (“Lopresti
19                Reb.”)
20                      EXHIBITS TO THE DECLARATION OF ULRICH NEUMANN
21         A      Rebuttal Expert Report of Ulrich Neumann, dated November 5, 2024 (“Neumann”)
22                     EXHIBITS TO THE DECLARATION OF KIMBERLY SCHENK
23         A      Opening Expert Report of Kimberly Schenk, dated October 3, 2024 (“Schenk
                  Op.”)
24

25

26

27

28

                                                   vii
     META’S MOTION FOR SUMMARY JUDGMENT                                       CASE NO. 3:19-CV-03132
          Case 3:19-cv-03132-WHO             Document 541         Filed 01/09/25       Page 11 of 36



 1                           MEMORANDUM OF POINTS AND AUTHORITIES

 2          P5D operates a home design tool that allows users to design 3D scenes with everyday objects (like

 3   couches and tables) that are virtual copies of real-world furniture items. This dispute arises from a PhD

 4   candidate at Princeton downloading P5D’s objects and user-created scenes from P5D’s public website and

 5   transforming them into a machine learning dataset called “SUNCG,” which she publicly released in 2017.

 6   Meta, like hundreds of other researchers, downloaded SUNCG a few months after Princeton released it

 7   and used it as one of many datasets for noncommercial, academic research related to training AI on how

 8   to navigate through virtual spaces. As soon as P5D complained, Meta ceased its use. Yet for the simple

 9   act of downloading a dataset from one of the most well-respected research institutions in the country, and

10   using it to conduct scientific research that Meta shared with the research community through academic

11   papers, P5D claims Meta committed trade secret misappropriation and copyright infringement, and owes

12   more than $300 million in damages. P5D’s claims fail as a matter of law.

13          Trade Secrets. It is black letter law that, once a trade secret is public, it is no longer a trade secret.

14   Thus, downstream users of information published by an intermediary actor cannot be liable for
15   misappropriation. That is Meta. Meta’s noncommercial researchers downloaded and used SUNCG only
16   after Princeton publicly released it. Thus, by the time Meta accessed SUNCG, it contained no secrets.
17   P5D’s claim that Meta had “reason to believe” SUNCG contained trade secrets is therefore legally
18   meritless (and factually untrue) as Meta cannot be liable for using publicly disclosed information
19   regardless of what P5D speculates Meta should have known. To the extent P5D owned a trade secret at
20   all, its recovery for misappropriation cannot come from Meta.
21          Copyright. It is undisputed that P5D does not own copyrights in the individual scenes its users
22   created. Therefore, aside from 18 scenes its employees allegedly created, P5D’s purported copyright in
23   the scenes is limited to its selection of 49,811 scenes on its public gallery. P5D’s copyright claims against
24   Meta fail, as P5D cannot show that Meta ever copied that compilation of scenes. Rather, Meta only had
25   the compilation of scenes that Princeton selected to create SUNCG, which is not substantially similar to
26   P5D’s asserted compilation, as it consists of fewer scenes selected for a different purpose.
27          P5D’s copyright claims also fail as to the individual objects. Although the Court instructed P5D
28   to identify “specific and demonstrable creative choices” it made in modeling the objects, it did not. P5D

                                                            1
     META’S MOTION FOR SUMMARY JUDGMENT                                                   CASE NO. 3:19-CV-03132
          Case 3:19-cv-03132-WHO            Document 541         Filed 01/09/25      Page 12 of 36



 1   admittedly has no idea how its objects differ from the references it copied as it has no records of what

 2   those references were. As the Copyright Office denied P5D a registration, it is P5D’s burden to establish

 3   copyrightability and it cannot do that with conclusory allegations of creativity, especially as its practice

 4   was to replicate real-world objects. P5D also has not proven substantial similarity. In fact, 526 of its

 5   claimed objects do not appear in SUNCG at all, and thus were never copied by Meta. For the others, P5D

 6   has failed to meet its burden of proof on substantial similarity under the Ninth Circuit’s test.

 7          P5D likewise cannot establish contributory or vicarious liability against Meta because there is no

 8   direct infringement and Meta did not create, promote, or distribute SUNCG or financially benefit from

 9   third parties using it. Meta was merely one of hundreds of researchers using this free, public dataset.

10          Finally, summary judgment to Meta on P5D’s copyright claims should also be granted because

11   Meta’s conduct is quintessential fair use. On Factor 1 (purpose of use), Meta used SUNCG to train AI to

12   understand how to move through virtual environments for noncommercial research, which is an entirely

13   different purpose than P5D’s operation of a home design tool. Factor 2 (nature of the work) also favors

14   Meta, as P5D’s asserted works barely meet the threshold for creativity, if at all. On Factor 3 (amount

15   used), Meta did not use P5D’s alleged scene compilation and used no more of the alleged objects than

16   necessary to achieve its transformative purpose. On Factor 4 (market harm), P5D could not be harmed by

17   Meta’s use of the scenes because P5D does not own or have the right to license them. P5D also did not

18   lose any opportunities as a result of Meta using the objects or scene compilation in SUNCG. To the

19   contrary, no one even contacted P5D about potentially licensing its data until after SUNCG launched and

20   cited P5D as the source of the data.

21          After five years of litigation, P5D has had every opportunity to prove its claims against Meta. It

22   still cannot. Summary judgment should be granted to Meta in full.

23   I.     FACTUAL BACKGROUND

24          A.      Meta’s Longstanding Practice of Conducting Noncommercial Scientific Research

25          Meta builds technology that helps people connect, find communities, and grow businesses. In

26   2013, Meta established a noncommercial research laboratory, Facebook Artificial Intelligence Research

27   (“FAIR”), which focuses on long-term research problems surrounding AI for the benefit of the academic

28   research community. Ex. 12 (Newcombe) 269:9-17; Ex. 8 (Gkioxari) 264:17-265:22. FAIR engages with

                                                           2
     META’S MOTION FOR SUMMARY JUDGMENT                                                 CASE NO. 3:19-CV-03132
          Case 3:19-cv-03132-WHO            Document 541        Filed 01/09/25      Page 13 of 36



 1   the research community through publications, open-source software, participation in conferences, and

 2   collaborations with colleagues in academia. Exs. 55-58. Its employees are academic researchers, and often

 3   share appointments with well-known academic institutions. FAIR is a distinct division within Meta

 4   focused on academic, non-commercial research, separate from Meta’s commercial product development

 5   teams. Ex. 12 (Newcombe) 269:9-17, 228:9-229:15. Over the past decade, FAIR researchers have

 6   explored a variety of AI research problems, such as how to train AI agents to gain the intelligence to

 7   navigate virtual buildings in response to prompts (e.g., “find the car”) and text-to-music generation

 8   models. Ex. 49 (Meta ROG 14 Resp.) at 10-14; Ex 54. FAIR does not research or work on home design

 9   AI applications.
10          B.      P5D Is An Interior Design Platform Where Users Can Create Home Designs
11          P5D offers a “user-friendly home design tool that allow[s] anyone to quickly and easily create
12   their own home, office, or landscape designs” (the “Tool”), through its website. Dkt. 53 ¶30 (“TS
13   Compl.”); No. 20 Civ. 08261 Dkt. 1 ¶31 (“CR Compl.”). Using the Tool, users can create “three-
14   dimensional [interior designs]” (“Scenes”) by dragging and dropping “three-dimensional . . . . lifelike
15   models of furniture, appliances, plants, people, lighting, or other objects that could occupy the interior or
16   exterior of a digitally depicted room or structure” (“Objects”) available on the Tool. CR Compl. ¶6, 31.
17   P5D does not claim to own a copyright in user-created Scenes, nor could it. The Scenes were created by
18   P5D’s users, not P5D, and P5D’s Terms of Service did not assign ownership of the Scenes to P5D. They
19   merely granted P5D a royalty-free license to the Scenes solely for purposes of “providing and promoting
20   the Services; and/or exercising the rights granted in these Terms.” Ex. 23 at 4. Services is defined as “your
21   use of Planner 5D project for any purpose whatsoever.” Id. at 3.
22          The Objects in the Tool were created by P5D employees using a free and open-source 3D modeling
23   software. Ex. 47 (P5D ROG 1 Resp.) at 2; see also Ex. 1 (Kondaurov) 86:20–87:1. P5D created the Objects
24   to “reflect [or resemble] some real life object[]” that “can be found in [the] real world.” Ex. 3
25   (Sheremetyev) 108:3-9. The “general practice” of modelers was to use “reference images” of real-world
26   objects when creating a 3D model of that item. Id. at 64:25-65:10. Some of these reference images were
27   supplied by P5D clients—who hired P5D to create 3D models that match their products “as close as
28   possible.” (the “B2B Objects”). Ex. 1 (Kondaurov) 22:25-23:5, 110:20-23. Other reference images P5D

                                                          3
     META’S MOTION FOR SUMMARY JUDGMENT                                                CASE NO. 3:19-CV-03132
          Case 3:19-cv-03132-WHO            Document 541         Filed 01/09/25      Page 14 of 36



 1   copied from the websites of online retailers, such as IKEA. (the “Non-B2B Objects”). Ex. 3 (Sheremetyev)

 2   64:25-65:10; Ex. 28 at -325. P5D does not have records of the reference material used for Non-B2B

 3   Objects. Dkt. 282-02; Ex. 46 (P5D ROG 10 Resp.) at 7. But, in all cases, P5D’s goal when modeling

 4   Objects was to replicate pre-existing, real-world items. Ex. 2 (Kondaurov) 275:17-24.

 5          P5D’s Objects and Scenes are encoded in JSON files, which is a type of publicly available data-

 6   interchange format created by a third party. Ex. 43 (P5D’s RFA 1, 2 Resp.) at 1; Lopresti Op. ¶7. In this

 7   litigation, P5D claims copyright protection in 2,009 Objects/Object files, a compilation of 49,479 Scenes

 8   that allegedly appeared on its public gallery as of February 17, 2016, and 18 individual Scenes that were

 9   allegedly created by P5D employees. CR Compl. ¶¶104-105, 107; Dkt. 282-02–Dkt. 282-09; Ex. 47 (P5D

10   ROG 1 and 2 Resp.) at 5-6. P5D does not own a copyright registration in any of these works, as the

11   Copyright Office denied its applications. Ex. 21; Ex. 22; Ex. 19 at -388; Ex. 20 at -393. Aside from the

12   18 employee-created Scenes, P5D does not claim to own a copyright in any individual scenes. P5D also

13   claims trade secret ownership of various object files, scene files, and file compilations and URLs where

14   such files are stored. TS Compl. ¶¶84-113; Ex. 44 (P5D ROG 3 Resp.) at Am. Ex. D; Exs. 34-36 (Trade

15   Secret Disclosures); Ex. 40 (P5D’s Am. Added Objects List to Trade Secret Disclosures).

16          Unsurprisingly given P5D’s focus on interior design and the restrictions in its Terms of Services,

17   P5D is not in the business of licensing or selling its Scenes/Scene files (or its Objects/Object files) for AI

18   machine learning.

19                                                               (Sheremetyev) 434:12-18, 436:6-12.

20

21                                                                          Id. at 483:2-484:20, 491:12-492:23,

22   494:7-496:8; Ex. 25 at -392.

23

24

25

26                                                                    P5D. Ex. 24 at -765; Ex. 5 (Sheremetyev)

27   463:5-471:2.

28

                                                           4
     META’S MOTION FOR SUMMARY JUDGMENT                                                 CASE NO. 3:19-CV-03132
          Case 3:19-cv-03132-WHO             Document 541        Filed 01/09/25      Page 15 of 36



 1               Ex. 5 (Sheremetyev) 483:20-484:20, 491:12-492:23, 495:23-496:8; Lopresti Op. ¶¶217-223.

 2          P5D also is not in the market of training AI robots to independently navigate real world or virtual

 3   environments or releasing academic research. Lopresti Op. ¶¶83-85. Rather, to the limited extent P5D

 4   subsequently dabbled in machine learning or AI, it has done so to facilitate its own interior design-focused

 5   platform. Ex. 51; Ex. 14 (Andrikys) 201:18-202:6; Ex. 4 (Sheremetyev) 269:16-271:14, 273:8-25, 274:16-

 6   22, 276:15-277:24, 278:19-279:15. For example, even its website refers to its AI work as “Interior Design

 7   AI Tools,” such as a tool to make suggestions on how to decorate a room, and “AI Floor Plan Recognition”

 8   to convert a 2D plan into a 3D scene. Ex. 51.

 9          C.       Princeton Downloaded and Transformed the Publicly Available Scenes Created by
                     P5D’s Users into the Machine Learning Dataset SUNCG
10

11          In 2016, Shuran Song was a PhD candidate at Princeton whose doctoral research focused on using

12   AI algorithms to look at 2D images of 3D scenes and generate volumetric information for, and identify

13   every object depicted in, that scene. Ex. 38 (Princeton ROG 1 Resp.) at 3, 5; Ex. 50 (Song Research Paper)

14   at 1. In February 2016, as part of her work, Dr. Song searched the internet for potential collections of floor

15   plan data to train AI algorithms. Ex. 38 (Princeton ROG 1 Resp.) at 4-5. In doing so, she found that P5D’s

16   website contained a public gallery of user-generated scenes and that the data files underlying those scenes

17   and objects were freely accessible. Id. Dr. Song and her research team (hereinafter referred to as

18   “Princeton”) then wrote software to identify and download the JSON data files for those scenes and the

19   objects (e.g., furniture) within them. Id.

20          Upon review of these data files, Princeton determined that the data was not in a condition suitable

21   for academic research. For example, it lacked labels and annotations identifying the objects (e.g., data that

22   identified a couch and chair in a scene as “couch” and “chair”). Ex. 15 (Funkhouser) 103:24-104:16; Ex.

23   13 (Song) 459:10-21. Without those, AI could not learn the identity of each object in a scene. To train the

24   AI, it requires labels to tell it “this is a couch” and “this is a chair.” Lopresti Op. ¶92. Problematically,

25   P5D’s data also: (i) contained unrealistic room layouts (such as a dinosaur trampling a living room or a

26   rubber duck floating in water), (ii) had faulty object placement (such as floating objects), and (iii) lacked

27   the color and depth images necessary for the type of research Princeton conducted. Ex. 15 (Funkhouser)

28   86:17-87:9, 142:11-19, 159:23-160:15; Ex. 13 (Song) 488:13-489:17; Lopresti Op. ¶16, 108, 110.

                                                           5
     META’S MOTION FOR SUMMARY JUDGMENT                                                 CASE NO. 3:19-CV-03132
         Case 3:19-cv-03132-WHO           Document 541        Filed 01/09/25     Page 16 of 36



 1   Princeton therefore spent the next several months significantly altering P5D’s data and filtering the

 2   modified data to: (1) make it usable for Dr. Song’s machine learning research and (2) focus on the most

 3   informative and useful scene images available. Ex. 38 (Princeton ROG 2 Resp.) at 6-7; Ex. 13 (Song)

 4   488:13-489:10; Ex. 15 (Funkhouser) 159:15-160:15; Ex. 50 (Song Research Paper) at 5, Fig. 13.

 5          Princeton called its resulting collection of transformed data files the “SUNCG” dataset. Even by

 6   P5D’s telling, SUNCG consisted of a different set of objects and scenes than those Princeton downloaded.

 7   Specifically, there are allegedly at least 49,479 Scenes in P5D’s asserted compilation whereas SUNCG

 8   included 45,622 scenes, many of which were individually different from the Scenes P5D selected for its

 9   gallery, as they had different textures, door openings, and objects per scene. Ex. 37 (P5D ROG 11 Resp.)

10   at Ex. C; Ex. 6 (Forsyth) 230:17-235:5, 241:5-23; Ex. 32 (Forsyth Op.) ¶¶70-77, 231, 232. And SUNCG

11   contained only 1,564 of the 3,893 Objects (i.e., 40%) in which P5D claims to have copyright or trade

12   secret rights. Ex. 37 (P5D ROG 11 Resp.) at Ex. B.

13          On November 28, 2016, Dr. Song and colleagues published a research paper concerning Dr.

14   Song’s SUNCG research. Ex. 50 (Song Research Paper). They made the SUNCG dataset publicly

15   available shortly thereafter. Ex. 39. Researchers could access SUNCG after signing Princeton’s Terms of

16   Service, which allowed use of SUNCG for free for noncommercial research and educational purposes.

17   Ex. 30. While SUNCG was available, it was downloaded

18

19                 (Princeton ROG 5 Resp.) at Am. Ex. A.

20          Meta had no involvement in or knowledge of SUNCG before it was publicly released. Although

21   Dr. Song received a Facebook Fellowship (“Fellowship”) in 2015—which is a tuition and stipend grant

22   available to PhD students, Ex. 13 (Song) 296:14-22—neither the Fellowship

23              mentions P5D or gives Meta any role in or oversight over Dr. Song’s research. Ex. 31; Ex. 29;

24   Ex. 52 (Fellowship information explaining “There is nothing extra expected of you, and your research

25   agenda is driven entirely by you, without any external influence or expectation from Facebook.”). As Dr.

26

27                                                                       Ex. 13 (Song) 556:18-558:11.

28

                                                          6
     META’S MOTION FOR SUMMARY JUDGMENT                                            CASE NO. 3:19-CV-03132
          Case 3:19-cv-03132-WHO              Document 541     Filed 01/09/25     Page 17 of 36



 1

 2                                      Id.

 3          D.      Meta, Like Many Entities, Used SUNCG for Limited Noncommercial Research

 4          Meta first learned of SUNCG through Dr. Song’s research paper. Ex. 8 (Gkioxari) 14:10-16.

 5                                                                                      Ex. 42 (P5D ROG 15

 6   Resp.) at 6.

 7

 8                                   Ex. 10 (Straub) 92:24-93:2.

 9          The researchers who used SUNCG did so for limited, noncommercial scene navigation and

10   embodied AI research projects connected to training AI robots to independently navigate virtual

11   environments and understand how to accomplish basic tasks in those environments. Ex. 49 (Meta ROG

12   14 Resp.) at 5-10; Ex. 8 (Gkioxari) 268:25-269:8, 270:14-17; Ex. 12 (Newcombe) 232:15-17. For

13   example, in 2018, in collaboration with UC Berkeley, FAIR researchers built House3D—a virtual 3D

14   environment that enabled AI agents (i.e., virtual robots) to explore indoor spaces to learn about elements

15   within those spaces. Ex. 49 (Meta ROG 14 Resp.) at 5. House3D transformed scenes of indoor spaces into

16   a navigable environment and was compatible with multiple datasets. Ex. 53 (House3D Paper) at 3. In other

17   words, researchers could load various datasets, including SUNCG, into the House3D simulator, which

18   would then turn those datasets into a 3D environment through which a virtual agent could navigate to test

19   and train algorithms developed by researchers. Id. Although House3D was compatible with SUNCG, Meta

20   did not distribute SUNCG as a part of House3D. Ex. 17. Meta also published its research using House3D,

21   as well as publicly shared the python API script used to operate House3D. Ex 49 (Meta ROG 14 Resp.)

22   at 5. House3D—like all of Meta’s research using SUNCG—was for research with no commercial role.

23   Ex. 49 (Meta ROG 14 Resp.) at 5.

24          From 2018-2019, Meta also used SUNCG to generate a new dataset to rally collaboration among

25   research institutions involved in AI research (including Stanford, Virginia Tech, and Princeton), to

26   develop algorithms related to understanding “360-degree RGB-D panoramas,” as part of an event called

27   the Scene Understanding and Modeling (“SUMO”) Challenge. Id. at 6. The SUMO dataset was comprised

28   of 2D, 360-degree visualizations of a subset of SUNCG scenes from various vantage points, akin to the

                                                         7
     META’S MOTION FOR SUMMARY JUDGMENT                                              CASE NO. 3:19-CV-03132
           Case 3:19-cv-03132-WHO           Document 541        Filed 01/09/25      Page 18 of 36



 1   view captured by a rotating camera. Id. Like SUNCG, Meta only used SUMO for noncommercial research,

 2   and ensured other users of SUMO did the same by requiring participants of the SUMO challenge to agree

 3   to Terms of Use which expressly restricted use to “non-commercial research and educational purposes.”

 4   Ex. 16 at -433.

 5          Meta ceased use of SUNCG and SUMO in 2019 after receiving a cease-and-desist letter from P5D.

 6   Ex. 49 (Meta ROG 14 Resp.) at 7. The projects that used SUNCG also used, or were compatible with,

 7   other datasets, meaning that this did not impact Meta’s research. Id. at 10. And, in any event, the research

 8   projects for which Meta used SUNCG were only a small fraction of the dozens of computer vision research

 9   projects that Meta conducted with different datasets. Id. at 10-14 (identifying dozens of computer vision

10   research projects that did not use SUNCG).

11          SUNCG’s limited noncommercial use within Meta was unsurprising, given the shortcomings of

12   the data for its research. To accomplish embodied AI and/or scene recognition tasks, the AI algorithms

13   must be trained and tested on realistic environments. Lopresti Op. ¶111; Neumann ¶36. For interior home

14   scenes, realism—at least—requires that the layout have household objects in logical, realistic places (e.g.,

15   a bed in a bedroom and a couch in a living room) and a realistic number of objects within a scene. Lopresti

16   Op. ¶¶57, 96; Neumann ¶37. SUNCG failed in both areas. Lopresti Op. ¶¶97-98; Neumann ¶43.

17   II.    SUMMARY JUDGMENT STANDARD

18          Summary judgment is proper when “there is no genuine dispute as to any material fact and the

19   movant is entitled to judgment as a matter of law.” Fed. R. Civ. P. 56(a). A fact is “material” only if it

20   would “affect the outcome of the suit,” and a dispute is “genuine” only if “a reasonable jury could return

21   a verdict for the nonmoving party.” S. Cal. Darts Ass’n v. Zaffina, 762 F.3d 921, 925 (9th Cir. 2014).

22          As the plaintiff, P5D carries the burden of proof and persuasion at trial to establish its claims of

23   copyright infringement and trade secret misappropriation. See Jonathan Browning, Inc. v. Venetian

24   Casino Resort LLC, 816 F. Supp. 2d 793, 797 (N.D. Cal. 2009); Evans v. Presidio Trust, No. 19 Civ.

25   8025, 2019 WL 11270441, at *2 (N.D. Cal. Dec. 23, 2019). To prevail on summary judgment, “[Meta]

26   need only point out ‘that there is an absence of evidence to support [P5D’s] case.’” Olivier v. Baca, 913

27   F.3d 852, 857 (9th Cir. 2019). The burden then shifts to P5D to set forth “specific facts showing that there

28   is a genuine issue for trial.” Lowry v. City of San Diego, 858 F.3d 1248, 1255 (9th Cir. 2017). “The mere

                                                          8
     META’S MOTION FOR SUMMARY JUDGMENT                                               CASE NO. 3:19-CV-03132
            Case 3:19-cv-03132-WHO          Document 541         Filed 01/09/25      Page 19 of 36



 1   existence of a scintilla of evidence in support of [P5D]’s position will be insufficient.” Anderson v. Liberty

 2   Lobby, Inc., 477 U.S. 242, 252 (1986). “Conclusory and speculative testimony” also does not suffice. Dkt.

 3   281 at 8 (citing Thornhill Publ’g Co., Inc. v. GTE Corp., 594 F.2d 730, 738 (9th Cir. 1979)).

 4   III.    Summary Judgment on the Trade Secret Claims is Warranted

 5           Under the Defend Trade Secrets Act and California’s Uniform Trade Secrets Act, to succeed on

 6   its trade secret misappropriation claims, P5D must prove that (1) it possessed a trade secret, (2) Meta

 7   misappropriated the trade secret, and (3) damage. Space Data Corp. v. X, No. 16 Civ. 3260, 2017 WL

 8   5013363, at *1 (N.D. Cal. Feb. 16, 2017). P5D’s claims against Meta fail as Meta downloaded the publicly

 9   available dataset, SUNCG, only after Princeton publicly released it, just like hundreds of other researchers.

10   By that time, any alleged trade secret rights to the data in SUNCG were extinguished. Thus, summary

11   judgment to Meta is proper, as Meta did not use, acquire, or share any purported trade secrets and P5D

12   did not possess any trade secret rights in the data in SUNCG by the time Meta downloaded it.

13           A.     Meta Is Not Liable For Trade Secret Misappropriation As It Merely Downloaded
14                  SUNCG After Princeton Publicly Released the Dataset.

15           It is trade secret 101 that downloading public data from a public website does not constitute trade

16   secret misappropriation. See, e.g. SocialApps, LLC v. Zynga, Inc., No. 11 Civ. 4910, 2012 WL 381216, at

17   *2 (N.D. Cal. Feb. 6, 2012) (striking allegations that information was a trade secret as it was publicly

18   available on plaintiff’s website); Religious Tech. Ctr. v. Lerma, 908 F. Supp. 1362, 1368 (E.D. Va. 1995)

19   (granting summary judgment; “person who originally posted a trade secret on the Internet may be liable,”

20   but one “who merely downloads Internet information cannot be liable for misappropriation because there

21   is no misconduct involved in interacting with the Internet”). This is so even if the public data contains or

22   was derived from information that was once a trade secret. Once a trade secret is publicly released, it loses

23   protection and the owner’s only recourse is against the person who disclosed the secret. Indeed, as many

24   courts have explained, “evidence that another individual has put the alleged trade secrets into the public

25   domain prevents [the trade secret owner] from further enforcing its trade secret rights in those materials.”

26   Religious Tech. Ctr. v. Netcom On-Line Commc’n Servs., Inc., 923 F. Supp. 1231, 1256-57 (N.D. Cal.

27   1995); see also Veronica Foods Co. v. Ecklin, No. 16 Civ. 7223, 2017 WL 2806706, at *13 (N.D. Cal.

28   June 29, 2017) (granting motion to dismiss as to publicized list of customers as “[o]nce the information is

                                                           9
     META’S MOTION FOR SUMMARY JUDGMENT                                                 CASE NO. 3:19-CV-03132
          Case 3:19-cv-03132-WHO            Document 541        Filed 01/09/25      Page 20 of 36



 1   in the public domain and the element of secrecy is gone, the trade secret is extinguished . . . .”) (citation

 2   omitted); DVD Copy Control Assn., Inc. v. Bunner, 31 Cal. 4th 864, 900 (2003), as modified (Oct. 15,

 3   2003) (concurring) (“Courts that have considered the matter have agreed that, generally speaking, a party

 4   not involved in the initial misappropriation of a trade secret cannot be prosecuted under trade secret law

 5   for downloading and republishing proprietary information posted on the Internet, primarily because the

 6   information is in the public domain and is no longer secret.”).

 7          This premise may raise the question, as it has before, “why should [a trade secret owner] have the

 8   trade secret status taken away because a perpetrator stole and then published it?” Hong Kong uCloudlink

 9   Network Tech. Ltd. v. Simo Holdings Inc., No. 18 Civ. 5031, 2019 WL 1767329, at *2 (N.D. Cal. Apr. 22,

10   2019) (granting motion to dismiss). The Court in Hong Kong responded with a simple answer: “[the trade

11   secret owner is] not precluded from pursuing relief against [a defendant] for his publication of the trade

12   secrets in the first instance.” Id. (emphasis added). It, however, has no cause of action against subsequent

13   users of the publicly disclosed information. See Netcom, 923 F. Supp. at 1256 (Although “those who made

14   the original postings likely gained the information through improper means … this does not negate the

15   finding that, once posted, the works lost their secrecy.”); DVD Copy Control, 31 Cal. 4th at 900

16   (concurring); see also Lerma, 908 F. Supp. at 1368 (E.D. Va. 1995). Such is the case here.

17          It is undisputed that in January 2017, Dr. Song made SUNCG readily available online for free to

18   anyone who signed the Terms of Use. Ex. 39; Ex. 47 (P5D ROG 16 Resp.) at 22 (Princeton posted SUNCG

19   “to a publicly-accessible URL”). There is also no dispute that Meta did not download SUNCG until three

20   months later. Ex. 41 (Princeton ROG 5 Resp.) Am. Ex. A at 1.

21

22                                                                                          Id.

23          Accordingly, regardless of whether SUNCG incorporated or utilized any trade secrets during its

24   creation by Princeton, P5D’s claims against Meta fail, as Meta only downloaded a public dataset that, by

25   definition, could not contain any trade secrets. Summary judgment to Meta on P5D’s trade secret claim is

26   proper. See Lerma, 908 F. Supp. at 1369 (granting summary judgment; defendant only “quote[d] from

27   publicly available materials”); see also Hong Kong, 2019 WL 1767329, at *2 (granting motion to dismiss

28   where defendant used information disclosed by third party).

                                                          10
     META’S MOTION FOR SUMMARY JUDGMENT                                                CASE NO. 3:19-CV-03132
          Case 3:19-cv-03132-WHO           Document 541        Filed 01/09/25      Page 21 of 36



 1          B.      Meta Was Not In Privity with Princeton.

 2          To avoid this straightforward conclusion, P5D has alleged that Meta is liable because it allegedly

 3   acted in privity with Princeton. TS Compl. ¶73. This argument is baseless.

 4

 5                                  Ex. 13 (Song) 556:18-557:19; Ex. 8 (Gkioxari) 14:3-15:21; Ex. 12

 6   (Newcombe) 243:13-244:19; Ex. 7 (Huber) 32:10-34:23.

 7                                              Ex. 13 (Song 6/14/24) 556:18-557:19.

 8                                              Id. Rather, Meta only became aware of SUNCG through Dr.

 9   Song’s publicly released paper and had to request access to SUNCG and sign SUNCG’s Terms of

10   Agreement, just like everybody else. See Ex. 8 (Gkioxari) 14:2-15:21; Hong Kong, 2019 WL 1767329, at

11   *2 (dismissing trade secret claims against Def. B as it “was not one [of Def. A’s] privies” because it “had

12   no material relationship with [Def. A]” and at the time of the theft and publication “stood in the same

13   position as a member of the public.”). Therefore, Meta did not act in concert with Princeton to acquire,

14   use, or disclose P5D’s alleged trade secrets, or have any material relationship with Dr. Song or Princeton.

15   Nor is there a scintilla of evidence showing otherwise. Id.; see also Lerma, 908 F. Supp. at 1369 (granting

16   summary judgment as “there is no possible liability for [the defendant] in its acquisition of the

17   information” when there was “no evidence that [the defendant] . . . committed any [] improper act in

18   gathering information from the [trade secret] or down loading [sic] information from the Internet.”).

19   Rather, at the time Meta downloaded SUNCG, it stood in the same position as the general public.

20          P5D will likely point to the academic Fellowship that Meta granted Dr. Song in 2015 to argue that

21   the parties acted together or had a material relationship. Ex. 31. But this Fellowship merely provided Dr.

22   Song (and other students) with tuition and a stipend while she worked toward her PhD. Ex. 29. It did not

23   give Meta control of or involvement in her work, or create any rights or obligations between Meta and Dr.

24   Song, nor is there any evidence stating it did. See, e.g., Ex. 31; Ex. 29. In fact, in an interview Meta

25   published with a Facebook Fellow, the Fellow explicitly explained to candidates: “There is nothing extra

26   expected of you, and your research agenda is driven entirely by you, without any external influence or

27   expectation from Facebook.” Ex. 52.

28

                                                         11
     META’S MOTION FOR SUMMARY JUDGMENT                                               CASE NO. 3:19-CV-03132
          Case 3:19-cv-03132-WHO            Document 541        Filed 01/09/25      Page 22 of 36



 1                 Ex. 13 (Song) 344:9-21, 347:10-16.

 2

 3                         Id. at 557:17-558:9; Ex. 31. P5D’s and Meta’s experts also agree that researchers

 4   typically keep autonomy over their work even when they receive fellowships, as Dr. Song did.1
 5
            C.      P5D’s Claim That Meta Is Liable Because It Had Reason to Believe SUNCG
 6                  Contained Trade Secrets Acquired by Improper Means Also Fails.

 7          P5D has also alleged that Meta is liable because it purportedly “knew or had reason to know” the

 8   data in SUNCG was a trade secret acquired by purportedly “improper means.” 18 USC §1839(5)(A),

 9   (B)(ii); Cal. Code §3426.1(b)(1), (2)(B)(i); TS Compl. ¶73. Leaving aside that there is no evidence of this,

10   P5D’s argument is legally irrelevant. The key fact is Princeton released SUNCG to the world and thus

11   extinguished any supposed trade secrets information in the dataset. Supra III.A. Once the cat is out of the

12   bag, subsequent users who are not in privity with the first actor cannot be liable because the information

13   is no longer a secret. Supra III.A. Hong Kong is instructive. 2019 WL 1767329. There, defendant Bin

14   misappropriated trade secrets and incorporated them into a published patent. Id. at *1. The plaintiff argued

15   that another defendant, uCloud, was also liable because it “knew or should have known” Bin stole the

16   trade secrets based on Bin’s deposition testimony, yet continued to sell products using the trade secrets

17   anyway. Id. The Court disagreed, holding that Bin’s patent “published the trade secrets and, upon

18   publication, any trade secret status was lost prior to the time of Bin’s deposition; thus, uCloudlink could

19   not be a wrongdoer because, by the time it got involved, there was no trade secret.” Id. at *2. Even though

20   uCloud should have known Bin acted improperly, the trade secret owner’s only recourse was against Bin,

21   who published the secret. Id.; see also Netcom, 923 F. Supp. at 1256. So too here. The widespread

22   disclosure of SUNCG negates P5D’s claim.

23          In any case, even if any purported trade secrets in SUNCG had not been extinguished before Meta

24   downloaded it (they were), P5D’s “reason to know” argument would still fail because Meta had no reason

25   to know SUNCG contained trade secrets acquired by improper means. “[A] party has reason to know that

26
     1
      P5D’s expert testified that (a) he received research grants from many companies, but none controlled or
27   directed his research, (b) researchers receiving fellowship are “very largely” able to “act independent of
     whoever is funding the research,” and (c) he was “not aware of any direct control of Dr. Song’s activities
28   by Meta.” Ex. 6 (Forsyth) 210:25-215:9, 219:22-220:14. Meta’s expert stated that “the funder does not
     dictate the project and/or work and has limited interactions with the award recipient.” Lopresti Reb. ¶75.
                                                          12
     META’S MOTION FOR SUMMARY JUDGMENT                                               CASE NO. 3:19-CV-03132
          Case 3:19-cv-03132-WHO           Document 541        Filed 01/09/25     Page 23 of 36



 1   information is a trade secret only if known facts would have made a reasonably prudent acquirer

 2   suspicious.” GSI Tech., Inc. v. United Memories, Inc., No. 13 Civ. 1081, 2015 WL 5655092, *10 (N.D.

 3   Cal. Sep. 21, 2015). Rather than being suspicious, the facts show that hundreds of researchers downloaded

 4   SUNCG without concern, including a student that P5D’s own expert supervised. Ex. 6 (Forsyth) 167:13-

 5   169:14. In addition, Dr. Song was not secretive about her use of P5D material. Her paper explicitly stated

 6   that the dataset contained scenes from P5D’s public platform and included a link to P5D’s website where

 7   P5D publicly displayed its user-created scenes. Ex. 50 at 5, 11. There was no reason to believe public

 8   material was a trade secret. And a well-respected research institution (Princeton) released the dataset, a

 9   further sign that the data was trustworthy. Ex. 7 (Huber) 162:25-163:14.

10          P5D’s expert points to Dr. Song’s Fellowship application as an indication that Meta “should have

11   known” SUNCG contained trade secrets acquired by improper means. But this application proves the

12   opposite. It does not mention P5D or scraping at all. Ex. 31.

13

14

15            Id. at -214. Given the prevalence of crowdsourcing data, which P5D’s own expert confirmed,
16   this statement gave no reason for Meta to suspect that a dataset created by Dr. Song and Princeton would
17   contain trade secrets or any information acquired by improper means. Ex. 6 (Forsyth) 224:12-13 (“there
18   was a fair amount of building crowd-sourced datasets” at the time); see also Lopresti Reb. ¶72 (Meta’s
19   expert confirming that “there were many public 3D model repositories”).2 Rather, the Fellowship indicates
20   that Dr. Song would download public data crowd-sourced from the public. Ex. 31.
21          P5D has also indicated it will rely
22

23

24

25                                                                                                          Id.
26

27   2
       Similarly, Meta is aware of no case in the 2016-2019 timeframe holding that web-scraping constituted
     trade secret misappropriation. Rather, in Infogroup, Inc. v. DatabaseLLC, the court denied the plaintiff’s
28   preliminary injunction because it was not “likely to be able to prove that purchasing or using lists that
     were obtained by ‘webscraping’ is ‘misappropriation[.]’” 95 F. Supp. 3d 1170, 1182 (D. Neb. 2015).
                                                        13
     META’S MOTION FOR SUMMARY JUDGMENT                                             CASE NO. 3:19-CV-03132
           Case 3:19-cv-03132-WHO           Document 541         Filed 01/09/25      Page 24 of 36



 1   As public information is not a trade secret, this email does not establish that Meta knew or had reason to

 2   know SUNCG supposedly contained trade secrets.3 P5D’s reliance on it is misplaced.
 3          Summary judgment to Meta on P5D’s trade secret misappropriation claim is warranted. Lerma,

 4   908 F. Supp. at 1368 (entering summary judgment for defendants).

 5   IV.    P5D CANNOT ESTABLISH DIRECT COPYRIGHT INFRINGEMENT

 6          To succeed on its copyright infringement claims against Meta, P5D must establish (a) ownership

 7   of a copyrightable work, (b) copying, and (c) substantial similarity between the copyrighted work and the

 8   work in Meta’s possession. Cavalier v. Random House, Inc., 297 F.3d 815, 822 (9th Cir. 2002). As set

 9   forth below, P5D’s claim: (i) fails as to its asserted compilation because P5D cannot show substantial

10   similarity and (ii) fails as to the Objects because P5D cannot show that the vast majority of the Objects

11   are copyrightable or show substantial similarity.

12          A.      P5D Cannot Meet Its Burden of Showing Meta Infringed Its Alleged Compilation.

13          P5D claims Meta infringed its asserted scene compilation through both SUNCG and SUMO. This

14   claim fails, as P5D cannot show either dataset is substantially similar to P5D’s alleged compilation.

15                  1.      P5D Cannot Prove SUNCG’s Compilation Is Substantially Similar to P5D’s

16          P5D’s purported compilation consists of a “selection” of 49,479 scenes displayed on P5D’s public
17   gallery. Ex. 47 (P5D ROG 4 Resp.) at 11. P5D concedes that it does not hold a copyright to the individual
18   Scenes (besides 18 allegedly created by its employees). Ex. 47 (P5D ROG 2 Resp.) at 6-7. P5D did not
19   “select” these scenes from scratch or arrange them in any particular order. Rather, users of its website first
20   selected scenes that they wanted included in the public gallery. Ex. 45 (P5D ROG 1 Resp.) at 1. P5D’s
21   employees then purportedly culled that list further to identify scenes that would “showcase the [Tool’s]
22   capabilities, and to provide templates for users who don’t want to start their floor plans from scratch.” CR
23   Compl. ¶45. P5D claims the remaining scenes are its copyrightable compilation.
24

25   3

26

27

28

                                                          14
     META’S MOTION FOR SUMMARY JUDGMENT                                                 CASE NO. 3:19-CV-03132
          Case 3:19-cv-03132-WHO            Document 541        Filed 01/09/25      Page 25 of 36



 1          In the Ninth Circuit, it is well-established that, where a compilation “consist[s] largely of”

 2   elements to which the claimant does not hold a copyright, the copyright protection in the compilation will

 3   be thin. Harper House, Inc. v. Thomas Nelson, Inc., 889 F.2d 197, 205 (9th Cir. 1989) (“extremely limited

 4   copyright protection”). As a result, copyright infringement of a compilation requires “bodily appropriation

 5   of expression,” i.e., “copying or unauthorized use of substantially the entire item.” Id.; Experian v.

 6   Nationwide Mktg. Servs. Inc., 893 F.3d 1176, 1181-82 (9th Cir. 2018) (finding on summary judgment that

 7   80% match rate insufficient). Thus, to establish infringement, P5D must prove that Meta copied

 8   “substantially the entire item” of P5D’s asserted selection of scenes. It cannot.

 9          First, Meta never possessed P5D’s asserted compilation. Meta only possessed SUNCG. P5D

10   admits that SUNCG only contains 45,622 of the 49,479 Scenes from its asserted compilation. Ex. 37 (P5D

11   ROG 11 Resp.) at Ex. C. That is not “substantially the entire item,” and should alone resolve the issue.

12          Second, the scene compilation in SUNCG is a different compilation from P5D’s because it

13   contains scenes Princeton modified and selected based on different criteria. Princeton selected scenes

14   based on what would be useful for its machine learning work. This included broad considerations, like

15   whether a scene had a large number of objects, but also more granularly assessed whether the depth area

16   of the scene was larger than 70% of the image area and whether the object area was smaller than 30% of

17   the image area. Ex. 50 (Song Research Paper) at 5. P5D’s selection of scenes used entirely different

18   criteria. For example, P5D looked for bare scenes that users could use as “templates,” and also assessed

19   scenes for “artistic value.” CR Comp. ¶¶45-46. Those qualities have no value for computer vision machine

20   learning. Lopresti Op. ¶111. In other words, Princeton did not merely whittle down P5D’s compilation; it

21   created a new compilation based on different criteria. Thus, SUNCG is not substantially similar to P5D’s

22   asserted compilation. Feist Publ’ns, Inc. v. Rural Tel. Serv. Co., 499 U.S. 340, 349 (1991) (subsequent

23   compiler “free to use the facts contained in another’s publication to aid in preparing a competing work, so

24   long as the competing work does not feature the same selection and arrangement.”).

25                  2.      P5D Cannot Prove the SUMO Compilation Is Substantially Similar to P5D’s

26          P5D’s claim that SUMO infringes its alleged compilation also fails. P5D cannot establish
27   substantial similarity as to SUMO because Meta created SUMO by selecting a small subset of scenes from
28   SUNCG. Ex. 7 (Huber) 79:9-22, 91:16-92:2; Ex. 49 (Meta ROG 14 Resp.) at 6-7. A fraction of the scenes

                                                          15
     META’S MOTION FOR SUMMARY JUDGMENT                                                  CASE NO. 3:19-CV-03132
          Case 3:19-cv-03132-WHO            Document 541        Filed 01/09/25      Page 26 of 36



 1   in SUNCG, which is only a portion of the scenes from P5D’s gallery, is not “substantially the entire item”

 2   of P5D’s asserted work. Nor has P5D offered any expert testimony or analysis that the compilation of

 3   scenes in SUMO is substantially similar to its alleged compilation. Indeed, it has not even identified how

 4   many of the scenes in its alleged compilation appear in SUMO. Furthermore, as with SUNCG, the

 5   compilation of scenes in SUMO is a fundamentally different compilation from the one P5D asserts. It was

 6   created based on different criteria—scenes that Meta believed would be appropriate for the SUMO

 7   Challenge’s scene reconstruction task—and Meta significantly modified the scenes in SUMO. Id.

 8          B.      P5D Cannot Meets Its Burden of Establishing that Meta Infringed Its Objects.

 9          P5D also claims Meta infringed 2,009 individual Objects/Object files through both SUNCG and

10   SUMO. This claim also fails as P5D cannot meet its burden of showing (a) the copyrightability for 1,197

11   of these Objects, (b) substantial similarity between any Object as it exists in P5D’s records and the objects

12   as they exist in SUNCG, and (c) substantially similarity as to any Object with respect to SUMO.

13                  1.      P5D Cannot Prove that It Exercised Creativity in Modeling the Objects

14          As the Court acknowledged, “because the Copyright Office did not grant a registration for the
15   relevant works, P5D cannot rely on a presumption of validity” for ownership. Dkt. 281 at 9. Defendants
16   previously moved on the copyrightability of the Objects because discovery showed they were mere copies
17   of real-world items. Dkt. 220 at 4-5. The Court agreed that “a large portion . . . did not involve sufficient
18   creativity,” and ordered P5D to “narrow its asserted objects” to only those containing a “specific and
19   demonstrable creative choice” not dictated by reference material. Dkt. 281 at 14-15, 22. Simply converting
20   a 2D image to a 3D model would not suffice. See Dkt. 52 at 13 (citing Feist, 499 U.S. at 359-60); see also
21   Meshwerks, Inc. v. Toyota Motor Sales U.S.A., Inc., 528 F.3d 1258, 1264-65 (10th Cir. 2008) (Gorsuch,
22   J.) (“digital wire-frame models” that are “copies of” car designs not protectable); Ent. Rsch. Grp., Inc. v.
23   Genesis Creative Grp., Inc., 122 F.3d 1211, 1222-23 (9th Cir. 1997) (turning 2D characters into 3D
24   costumes took “thought” and “creative decisions” for costume to reflect the source, but those were
25   “functional considerations,” not original). With the benefit of the Order, P5D concocted a “Narrowed
26   Object List” that it claimed identified the “specific and demonstrable creative choice[s]” for 1,917 Objects
27   (“NOL”). Dkt. 282-02–Dkt. 282-09. This evidence is insufficient to meet P5D’s burden.
28          First¸ P5D cannot establish creativity as to Exhibits B-D of the NOL because it does not know

                                                          16
     META’S MOTION FOR SUMMARY JUDGMENT                                                CASE NO. 3:19-CV-03132
          Case 3:19-cv-03132-WHO            Document 541         Filed 01/09/25      Page 27 of 36



 1   what creative choices it made, if any, that were not dictated by reference material.

 2          NOL Exs. C & D: Exhibits C and D show Objects P5D’s modelers made based on references next

 3   to images of furniture found online years later. Dkt. 282-02, Dkt. 282-05–09; Ex. 5 (Sheremetyev) 375:15-

 4   376:6, 393:14-402:17. To establish copyrightability, P5D must establish that these models “contain[] some

 5   original differences from the object depicted.” Compendium 923.1. P5D cannot meet this burden because

 6   it is undisputed that P5D does not know the references used to make these Objects. P5D’s 30(b)(6) witness

 7   confirmed this fact. After admitting he could not say if a purported “choice” stated in the NOL reflected

 8   an actual difference between the reference and the 3D model, he was asked:

 9          Is that true for all of the objects in Exhibit D, that P5D cannot state how the object differs
            from the original image because the original image is unavailable other than the fact
10          that one is 2D, and one is 3D?
11   He responded:
12          “That’s applicable for actually all questions about all models from all exhibits, which
            might include original references if they ever existed, because we stated that, I think in one
13          of the interrogatory at one time that we do not store references. We never had this goal.
            We never remember them, except some of those which we found were B2B.”
14

15   Ex. 5 (Sheremetyev) 401:16-402:17. Instead, to identify alleged creative choices, P5D compared its

16   Objects to images found online years later using reverse image search tools. Dkt. 282-02. As this falls

17   well short of P5D’s burden, summary judgment to Meta is proper. See George S. Chen Corp. v. Cadona

18   Intern., Inc., No. 06 Civ. 55536, 2008 WL 152651, *1 (9th Cir. Jan. 17, 2008) (granting summary

19   judgment where plaintiff “failed to identify any elements of the dolphin or frog that it selected that are not

20   common place or dictated by the idea of a swimming dolphin or sitting frog sculpture”); see also Bespaq

21   Corp. v. Haoshen Trading Co., No. 04 Civ. 3698, 2004 WL 2043522, at *2 (N.D. Cal. Sept. 13, 2004) (no

22   likelihood of success on merits as plaintiff failed to explain what it “added to its miniature furniture that

23   were not otherwise present in preexisting full-size furniture pieces”).

24          NOL Ex. B: P5D similarly fails to meet its burden for the Objects on Exhibit B, which represent

25   B2B models commissioned by third parties. Dkt. 282-02. While P5D knows the reference used to create

26   these Objects, it has no evidence it made creative choices when modeling them. As clients commissioned

27   the Objects on Exhibit B, the modeler’s goal was to copy the reference “as close as possible.” Ex. 1

28   (Kondaurov) 22:25-23:5, 110:20-23. Although Exhibit B identifies portions of the Objects that allegedly

                                                          17
     META’S MOTION FOR SUMMARY JUDGMENT                                                 CASE NO. 3:19-CV-03132
          Case 3:19-cv-03132-WHO             Document 541         Filed 01/09/25       Page 28 of 36



 1   differ from the reference, P5D admitted it does not know what differences resulted from a modeler’s

 2   creative choice versus a change dictated by the client, or copied from other sources. Ex. 5 (Sheremetyev)

 3   375:15-388:23, 396:4-402:17. As a result, P5D cannot meet its burden to prove originality.

 4          Second, P5D cannot establish copyrightability for the additional reason that the alleged creative

 5   choices on Exhibits B-D fall short of copyright’s originality requirement. For example, there are several

 6   instances where P5D contends its only creative contribution was a change in color. See, e.g., Dkt. 286-03

 7                                                        “[M]erely add[ing] or chang[ing] a few colors” is not a

 8   creative contribution. Compendium § 313.4(K); see also Hearn v. Meyer, 664 F. Supp. 832, 836 (S.D.N.Y.

 9   1987) (reproduction of “Wizard of Oz” image not original, despite different coloring). P5D also contends

10   that creating a “3-dimensional doll” from a “two dimensional” image reflects creativity, when the Ninth

11   Circuit has explicitly held otherwise. Dkt. 285-03                 ; Ent. Rsch. Grp., 122 F.3d at 1222–23. In

12   some cases, P5D identifies no creative choices at all—just the absence of something from the reference.

13   See, e.g., Dkt. 286-03 (        (cabinet lacking a key),          (cart lacking bottles),        (shelf lacking

14   screws)). Copyright does not protect the absence of material. 17 U.S.C. § 102.

15          Accordingly, summary judgment to Meta on P5D’s copyright claims regarding the Objects in NOL

16   Exhibit B-D should be granted because P5D cannot establish the copyrightability of those Objects.

17
                    2.      P5D Cannot Meet Its Burden of Showing Substantial Similarity Between the
18                          P5D Objects/Object Files and the SUNCG or SUMO Objects/Object Files

19          Summary judgment is also proper because P5D cannot meet its burden to establish that the
20   objects/object files in SUNCG or SUMO are substantially similar to P5D’s claimed Objects/Object files.
21   In the Ninth Circuit, courts start by applying the “extrinsic test” to assess substantial similarity. Under this
22   test, the Court must filter out the non-protectible elements of a copyrighted work before analyzing
23   similarity. Cavalier, 297 F.3d at 822. Because P5D has not—and cannot—prove what elements of its
24   Objects are original versus copied, it necessarily cannot prove substantial similarity. In other words, it
25   cannot prove that Meta copied protectable elements of its Objects/Object files as opposed to unprotectable
26   elements because it cannot state what the protectable elements are. Supra IV.B.1. Thus, P5D cannot meet
27   its burden of establishing substantial similarity.
28          P5D also has not offered any evidence, expert or otherwise, comparing each of its Objects/Object

                                                           18
     META’S MOTION FOR SUMMARY JUDGMENT                                                  CASE NO. 3:19-CV-03132
          Case 3:19-cv-03132-WHO            Document 541        Filed 01/09/25      Page 29 of 36



 1   file to those in SUNCG or SUMO. For SUMO, despite Meta’s requests in discovery, P5D has not even

 2   identified which Objects from the NOL it contends SUMO infringes. Ex. 48 (P5D ROG 20 Resp.) at 2-3;

 3   Ex. 6 (Forsyth) 252:23-253:11. This type of comparison is required. It is not enough to say that Princeton

 4   downloaded all the files; P5D must show Meta had substantially similar copies of each file. Had P5D

 5   conducted this analysis, it would realize that at least 526 of the Objects/Object files in which P5D claims

 6   rights do not appear in SUNCG, at all. Ex. 33. P5D thus cannot show Meta infringed those Objects/Object

 7   files. For the remainder, P5D has not offered any evidence of substantial similarity under the

 8   extrinsic/intrinsic test, and thus summary judgment for Meta is warranted as to those objects as well.

 9          C.      P5D Offers No Evidence that Meta Infringed the 18 Scenes It Allegedly Created

10          P5D likewise has not shown that the Scenes/Scene files for the 18 scenes allegedly created by

11   P5D’s employees are substantially similar to scenes/files in SUNCG or SUMO, nor can it. First, P5D has

12   offered no evidence as to which part of its scenes are allegedly “creative.”4 Without it, P5D cannot satisfy
13   the first step of the extrinsic test, namely, filtering out the unprotectable elements of its alleged works.
14   Second, P5D also has not conducted a scene-by-scene analysis, comparing P5D’s claimed Scenes/Scene
15   files to those in SUNCG or SUMO. Nor has P5D identified which of its Scenes correspond to scenes in
16   SUMO at all. Summary judgment is thus warranted.
17   V.     P5D CANNOT ESTABLISH INDIRECT COPYRIGHT INFRINGEMENT
18          A.      Meta Did Not Commit Contributory Copyright Infringement as There Was No
                    Direct Liability and it Did Not Induce Copyright Infringement by Third Parties.
19

20          P5D claims that Meta is liable for contributory infringement by “knowingly inducing and causing”

21   third parties “to make copies, distribute, publicly display and/or create derivative works from the

22   Copyrighted Works, and by materially contributing to these activities.” CR Compl. ¶110. P5D cannot

23   meet its burden on this claim either. To establish indirect copyright infringement, P5D must make a

24   “threshold showing” of direct infringement. Hunley v. Instagram, LLC, 73 F.4th 1060, 1077 (9th Cir.

25   2023). As discussed above, P5D cannot establish that neither SUNCG nor SUMO infringed its asserted

26   copyright works. See supra IV. Accordingly, summary judgment to Meta is proper.

27          In addition, with respect to SUNCG, despite months of discovery, there is not a single piece of

28
     4
      P5D’s developer also admitted he based a scene on the TV show House. Ex. 11 (Ketko) 285:7-286:2.
                                                      19
     META’S MOTION FOR SUMMARY JUDGMENT                                         CASE NO. 3:19-CV-03132
           Case 3:19-cv-03132-WHO           Document 541        Filed 01/09/25      Page 30 of 36



 1   evidence indicating that anyone downloaded or used SUNCG because of Meta. Instead, Meta was merely

 2   one of hundreds of entities that used SUNCG in academic research. Thus, P5D’s contributory liability

 3   claim against Meta with respect to SUNCG fails for the additional reason that there is no evidence of any

 4   “direct connection” between third parties using or downloading SUNCG and Meta. Perfect 10, Inc. v. Visa

 5   Int’l Serv. Ass’n, 494 F.3d 788, 796 (9th Cir. 2007) (“direct connection” required).

 6          B.      Meta Did Not Commit Vicarious Copyright Infringement as There Was No Direct
 7                  Liability and It Did Control or Financially Benefit From Any Direct Infringer

 8          P5D also claims Meta “vicariously infringed” because it purportedly “had the right and the ability

 9   to supervise and control” third party use of SUNCG/SUMO and “financially benefitted from” third party

10   use of these datasets. CR Compl. ¶111. P5D cannot meet its burden of establishing this claim.

11          First, P5D’s vicarious liability claim fails because it cannot make the required “threshold

12   showing” of direct infringement. Supra IV. Second, Meta received no financial benefit from third party

13   use of SUNCG or SUMO. Rather, Meta never offered SUNCG to the public (Princeton did) and, in any

14   case, SUNCG was free. Supra I.C, I.D. The SUMO Challenge was also free and provided Meta no

15   revenue. Ex. 49 (Meta ROG 14 Resp.) at 6. Neither drew customers to Meta, as they were scientific

16   research tools, not customer products. Erickson Prods., Inc. v. Kast, 921 F.3d 822, 829 (9th Cir. 2019);

17   Perfect 10, Inc.. v. Giganews, Inc., 847 F.3d 657, 673 (9th Cir. 2017). Finally, with respect to SUNG,

18   Meta had no right and ability to supervise the alleged infringement as it had no role in creating or

19   distributing SUNCG and no ability to “take away the tools” to download SUNCG from Princeton’s

20   servers. Ex 13 (Song) 556:18-558:11; Erickson, 921 F.3d at 829.

21   VI.    META’S USE OF SUNCG IS FAIR USE

22          To promote the progress of science and useful arts, copyright law balances the rights of authors of

23   original works with the right of the public to use those works “for purposes such as criticism, comment,

24   news reporting, teaching[,] scholarship, or research.” 17 U.S.C. § 107. To determine if use is fair, and

25   thus non-infringing, courts consider: “(1) the purpose and character of the use, including whether such use

26   is of a commercial nature or is for nonprofit educational purposes; (2) the nature of the copyrighted work;

27   (3) the amount and substantiality of the portion used in relation to the copyrighted work as a whole; and

28   (4) the effect of the use upon the potential market for or value of the copyrighted work.” Id. No one factor

                                                         20
     META’S MOTION FOR SUMMARY JUDGMENT                                               CASE NO. 3:19-CV-03132
          Case 3:19-cv-03132-WHO           Document 541        Filed 01/09/25      Page 31 of 36



 1   is dispositive; courts balance the factors considering “relevant circumstances, including ‘significant

 2   changes in technology.’” Google LLC v. Oracle America, Inc., 593 U.S. 1, 19 (2021).

 3          Here, Meta’s use of SUNCG/SUMO was purely for noncommercial research and scholarship,

 4   two of the few enumerated uses explicitly permitted under the fair use doctrine. It should come as no

 5   surprise then that Meta’s use falls squarely within the fair use doctrine and each of the fair use factors

 6   favors Meta. Thus, summary judgment should be granted as there is no dispute as to the material facts

 7   establishing Meta’s defense. Courts in the Ninth Circuit routinely grant summary judgment on fair use in

 8   such circumstances. See e.g., Tresóna Multimedia, LLC v. Burbank High Sch. Vocal Music Ass’n, 953
 9   F.3d 638, 652 (9th Cir. 2020) (granting summary judgment in light of “the limited and transformative
10   nature of the use and the work’s nonprofit educational purposes”); Seltzer v. Green Day, Inc., 725 F.3d
11   1170, 1176-1179 (9th Cir. 2013) (granting summary judgment where use was “not simply a quotation or
12   republication” and was not overly commercial); SOFA Ent., Inc. v. Dodger Prods., Inc., 709 F.3d 1273,
13   1278-1280 (9th Cir. 2013) (granting summary judgment as use of clip was transformative and not a threat
14   to plaintiff’s business model); Kelly v. Arriba Soft Corp., 336 F.3d 811, 822 (9th Cir. 2003) (granting
15   summary judgment as use of plaintiff’s images as “thumbnails” in search engine was fair use).
16          A.      Meta’s Use Is Transformative and Noncommercial
17          The first fair use factor considers whether the secondary use: (i) “adds something new, with a
18   further purpose or different character, altering” the work “with new expression, meaning or message” (i.e.,
19   whether it is transformative) and (ii) is “for nonprofit educational purposes.” Google, 593 U.S. at 29;
20   Campbell v. Acuff-Rose Music, Inc., 510 U.S. 569, 579 (1994). Here, Meta’s use was both transformative
21   and for noncommercial research and scholarship—which is quintessential fair use.
22          First, Meta used SUNCG solely for noncommercial scientific research and scholarship, often times
23   collaborating with academic institutions. See, e.g., Ex. 49 (Meta ROG 14 Resp.) at 5-10 supra I.D. After
24   exhaustive discovery of all uses made of SUNCG, there is not a single piece of evidence showing that
25   Meta’s research was for a commercial product. Moreover, Meta’s research was published as scholarship
26   and, thus, made available to others for free in the scientific and technical community to build off and
27   replicate. Id.; Lopresti Op. ¶227. That each of Meta’s published research papers cites back to Dr. Song’s
28   paper introducing SUNCG underscores that Meta’s research was conducted for the purpose of building

                                                         21
     META’S MOTION FOR SUMMARY JUDGMENT                                               CASE NO. 3:19-CV-03132
          Case 3:19-cv-03132-WHO           Document 541         Filed 01/09/25      Page 32 of 36



 1   public knowledge and advancing science. Lopresti Op. ¶227. Thus, Meta’s use “promote[d] the progress

 2   of science and useful arts.” Google, 593 U.S. at 30 (cleaned up). This weighs heavily in favor of fair use.

 3   Authors Guild v. Google, Inc., 804 F.3d 202, 209 (2d Cir. 2015) (search engine that enabled researchers

 4   to identify books and made “possible new forms of research” was fair use).

 5          Second, Meta’s use of SUNCG was for a transformative purpose. Meta used SUNCG to conduct

 6   machine learning research to train models to independently navigate scenes. Supra I.D. P5D’s purported

 7   works, on the other hand, were created for the purpose of promoting and using its interior design platform.

 8   CR Compl. ¶45; Ex. 4 (Sheremetyev) 119:23-121:14. These are fundamentally different uses, and, thus,

 9   transformative. See Perfect 10, Inc. v. Amazon.com, Inc., 508 F.3d 1146, 1168, 1165 (9th Cir. 2007)

10   (though an image may be “created originally to serve an entertainment, aesthetic, or informative function,

11   a search engine transforms the image into a pointer directing a user to a source of information.”); Kelly,

12   336 F.3d at 818–20 (use transformative as plaintiff’s images had an artistic purpose and defendant’s use

13   in a search engine had the purpose of improving access to information); A.V. ex rel. Vanderhye v.

14   iParadigms, LLC, 562 F.3d 630, 640 (4th Cir. 2009) (creation of copies of unaltered student papers for

15   use with a computer program that detects plagiarism held transformative).5

16          Third, to the extent that P5D made any creative contributions to its purported works, and those
17   contributions made it into SUNCG, Meta did not use SUNCG for those features. For example, P5D
18   contends that its Objects are creative due to flourishes such as the shape of a drawer knob. Dkt. 285-03 at
19   28, 79, 206. But machine learning researchers are not interested in those flourishes. They only care that a
20   drawer is a drawer, or a knob, a knob. Lopresti Op. ¶¶54-63. In other words, Meta used SUNCG for the
21   functional aspects of objects, not any purported artistry. See Sega Enters. Ltd v. Accolade, Inc., 977 F.2d
22   1510, 1522 (9th Cir. 1992) (copying software to discover “functional requirements for compatibility” fair
23   use). With respect to the asserted compilation, Meta’s use focused on individual scenes—which P5D does
24
     5
       P5D may argue that it too is in the “machine learning” space, but that is misleading and an overstatement.
25   Its asserted works were not created for machine learning. Lopresti Op. ¶¶75-79 (unrebutted opinion); see
     also Ex. 4 (Sheremetyev) 121:5-14 (P5D created for interior designs). The field of “machine learning” is
26   also too broad to make the purposes similar, as nearly every industry uses AI. It is undisputed that P5D’s
     business is providing an interior design platform, and its purported “machine learning” work has been in
27   pursuit of this same service, distinctly not in service of developing AI agents to understand how to
     independently navigate 3D spaces. Supra I.B. Even if P5D wanted to do more in AI, it could not. Its Terms
28   of Service only give it the right to use user-generated Scenes for the purpose of “providing and promoting
     [its] Services.” Ex. 23 at 4.
                                                           22
     META’S MOTION FOR SUMMARY JUDGMENT                                                 CASE NO. 3:19-CV-03132
          Case 3:19-cv-03132-WHO            Document 541         Filed 01/09/25      Page 33 of 36



 1   not own—not the entire compilation. This too cuts in favor of fair use, as Meta only “extract[ed]

 2   noncopyrighted material” and did not copy “to go into competition with [P5D].” Assessment Techs. of WI,

 3   LLC v. WIREdata, Inc., 350 F.3d 640, 644-45 (7th Cir. 2003) (copying database fair use).

 4          B.      P5D’s Purported Copyrighted Works Are at the Lowest End of Creativity

 5          This factor looks at the degree of creativity in the copyrighted work. Google, 593 U.S. at 19. Here,

 6   P5D’s asserted works are at the extremely low end of creativity, if copyrighted at all. Its Objects are

 7   functional files derived from copying real-world furniture with no identifiable creative additions. Supra

 8   IV.B.1. And its alleged copyright in the asserted compilation extends only to the selection of the Scenes

 9   that users created and chose for inclusion in the gallery. This factor thus favors fair use.

10          C.      Meta Used Only as Much as Necessary for Its Transformative Purpose

11          The third factor considers “the amount and substantiality of the portion used” (both quantitatively

12   and qualitatively) in recognition of the fact that the extent of permissible copying “varies with the purpose

13   and character of the use.” Tresóna, 953 F.3d at 650 (quoting Campbell, 510 U.S. at 586).

14          Quantitatively, Meta did not use P5D’s asserted scene compilation at all. Rather, as set forth above,

15   it used the compilation created by Princeton, which involved different underlying scenes and an entirely

16   different criteria for selecting scenes. Supra IV.A.1. As to the Objects, Meta used only as much as

17   necessary to achieve its transformative research purpose, as its various research projects used only as

18   many scenes—and thus objects—as necessary for the particular research task. See Ex. 8 (Gkioxari)

19   267:20-268:6 (explaining multiple projects used just a few hundred scenes); Kelly, 336 F.3d at 820–21.

20          Qualitatively, Meta did not use the “heart” of P5D’s original works. Tresóna, 953 F.3d at 650. The

21   “heart” of the work would be the individual scenes, but P5D concededly does not own them. It only

22   (purportedly) owns a thin compilation in the selection of scenes. But, as discussed above, Meta did not

23   copy that selection. Supra IV.A.1. And for the Objects, Meta had no interest in—and did not make use

24   of—P5D’s purported creative contributions to the Objects. It used the Objects as functional features of a

25   3D floorplan for AI training. This factor thus favors fair use.

26          D.      Meta’s Conduct Did Not Interfere With P5D’s Market

27          The fourth factor focuses on the “effect” of the copying in the “market for or value of the

28   copyrighted work.” Google, 593 U.S. at 35. This “can require a court to consider the amount of money

                                                          23
     META’S MOTION FOR SUMMARY JUDGMENT                                                 CASE NO. 3:19-CV-03132
          Case 3:19-cv-03132-WHO            Document 541        Filed 01/09/25      Page 34 of 36



 1   that the copyright owner might lose” and “the public benefits” of the copying. Id.

 2          The amount of money that P5D stood to lose from Meta’s use is zero. This is because, as much as

 3   P5D may argue it could have licensed its scene compilation or Objects if not for SUNCG, that simply is

 4   not true. The Scenes were created by P5D’s users, and P5D’s Terms of Service gave it no right to license

 5   the Scenes for research. Rather, P5D could sublicense Scenes only for the limited purpose of “providing

 6   and promoting” the user’s “use of the [P5D] project.” Ex. 23 at 3-4. Therefore, P5D could not license its

 7   scene compilation, which necessarily would have required licensing the Scenes.6 Further, as the Objects

 8   are only useful to the extent included in Scenes, there was no market for the free-standing Objects either.
 9          Regardless, even assuming P5D could license the scenes (it cannot), there is no market harm to
10   P5D because Meta’s use of SUNCG did not deprive P5D of any market opportunities.
11

12

13                                                                                                          Ex. 9
14   (Gavelis) 235:18-236:11.
15                                                                                                         Ex. 4
16   (Sheremetyev) 232:24-236:24; Ex. 5 (Sheremetyev) 494:4–496:8. This is very different from Supreme
17   Court cases regarding fair use where the defendant’s use extinguished a plaintiff’s licensing opportunity.
18   See, e.g., Andy Warhol Found. v. Goldsmith, 598 U.S. 508, 512 (2023) (AWF’s licensing of Prince image
19   to magazine extinguished Goldsmith’s opportunity to do the same); Harper & Row Publishers v. Nation
20   Enters., 471 U.S. 539, 556 (1985) (Nation’s use of quotes from copyrighted manuscript extinguished
21   plaintiff’s licensing opportunity with Time magazine for article on excerpt of manuscript). Here, by
22   contrast, Princeton could not, and did not, harm a market.7
23          Nor can P5D claim that it was harmed because Meta failed to pay it a license fee for its use of the
24   data in SUNCG. As the Supreme Court and Ninth Circuit have explained, a theoretical lost licensing fee
25   is insufficient to show market harm; that is a tautological argument that would cut against fair use in every
26
     6
       Following this litigation, P5D modified its terms to give itself ownership of the scenes, a tacit
27   acknowledgement that it did not previously have such rights. Ex. 26 ; Ex. 27 at -440.
     7
28                                                                       Ex. 24; Lopresti Op. ¶¶86-124; Google,
     593 U.S. at 36 (failed attempt to enter market favored fair use).
                                                         24
     META’S MOTION FOR SUMMARY JUDGMENT                                                CASE NO. 3:19-CV-03132
            Case 3:19-cv-03132-WHO           Document 541         Filed 01/09/25      Page 35 of 36



 1   case. See, e.g., Google, 593 U.S. at 38 (noting the “danger of circularity posed” by considering unrealized

 2   licensing opportunities in the fair use analysis, as plaintiff could argue such a loss in every case); Tresóna,

 3   953 F.3d at 652 (“[I]t is a given in every fair use case that plaintiff suffers a loss of a potential market if

 4   that potential is defined as the theoretical market for licensing the very use at bar.”).

 5           There also was no paying market for the noncommercial use of data in 2016-2019. Lopresti Op.

 6   ¶¶210-16. Datasets available for scene navigation machine learning research were free.8 Id.; see Kennedy

 7   v. Gish, Sherwood & Friends, Inc., 143 F. Supp. 3d 898, 912 (E.D. Miss. 2015) (industry practice of
 8   allowing “free license” weighed in favor of fair use); see also Field v. Google Inc., 412 F. Supp. 2d 1106,
 9   1121 (D. Nev. 2006) (no market because plaintiff made “the works available to the public for free in their
10   entirety”). Consistent with this,
11                                                                                                          Ex. 24.
12           Fundamentally, this is a matter of ships passing in the night. Meta is not in the interior design
13   business and did not use SUNCG to compete with P5D or create an interior design platform. Instead, it
14   used SUNCG for the public benefit through academic research. There also is no evidence that anyone ever
15   sought to license or obtain data from Meta rather than P5D, which makes sense given that Meta did not
16   release SUNCG and SUMO was designed for a narrow research project. Meanwhile, P5D’s interior design
17   business has grown significantly in revenue, users, and employees since Meta used SUNCG. Schenk Op.
18   ¶¶148-49. Thus, this factor favors fair use.
19           Accordingly, regardless of whether P5D can prove direct or indirect copyright infringement (it
20   cannot), P5D is barred from recovery on its copyright infringement claims against Meta because Meta’s
21   conduct was fair use. Google, 593 U.S. at 40 Summary judgment to Meta on its affirmative defense of fair
22   use should be granted. See Tresóna, 953 F.3d at 652 (fair use on summary judgment); Kelly, 336 F.3d at
23   822 (same); Seltzer, 725 F.3d at 1175-1179 (same); SOFA Ent., 709 F.3d at 1278-1280 (same).
24   VII.    CONCLUSION
25           For the foregoing reasons, Meta’s motion for summary judgment should be granted.
26

27

28   8
      Free datasets in the 2016-2019 period include PASCAL Visual Object Classes, ImageNet, NYU-v2,
     SUN RGB-D, SceneNet RGB-D, SceneNN, ScanNet, Matterport3D, and Gibson. Lopresti Op. ¶218.
                                                     25
     META’S MOTION FOR SUMMARY JUDGMENT                                      CASE NO. 3:19-CV-03132
         Case 3:19-cv-03132-WHO   Document 541   Filed 01/09/25     Page 36 of 36



 1
     Dated: January 9, 2024                  KIRKLAND & ELLIS LLP
 2
                                             /s/ Dale M. Cendali
 3                                           Dale M. Cendali (SBN 1969070)
                                             dale.cendali@kirkland.com
 4                                           Mary Mazzello (pro hac vice)
                                             mary.mazzello@kirkland.com
 5                                           Jonathan D. Brit (pro hac vice)
                                             jonathan.brit@kirkland.com
 6                                           Abbey Quigley (pro hac vice)
                                             abbey.quigley@kirkland.com
 7                                           Miriam Kontoh (pro hac vice)
                                             miriam.kontoh@kirkland.com
 8                                           Emily Sheffield (pro hac vice)
                                             emily.sheffield@kirkland.com
 9                                           601 Lexington Avenue
                                             New York, NY 10022
10                                           T: (212) 446-4800
                                             F: (212) 446-4900
11
                                             Yan-Xin Li (SBN 332329)
12                                           yanxin.li@kirkland.com
                                             555 California Street, 27th Floor
13                                           San Francisco, CA 94104
                                             T: (415) 439-1400
14                                           F: (415) 439-1500
15                                           Attorneys for Defendants
                                             Meta Platforms, Inc. and Meta Platforms
16                                           Technologies, LLC
17

18

19

20

21

22

23

24

25

26

27

28

                                           26
     META’S MOTION FOR SUMMARY JUDGMENT                                CASE NO. 3:19-CV-03132
